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                                                              EXHIBIT D
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Taxpayer Names: Philip Craig Ueland and Nicole Ueland
Taxpayer SSNs:        9050 and       -4211
Attachment to Form 843

1. Facts

Taxpayers resided in Australia in 2017 and at the time their 2017 return was filed. See Appendix
J, Declaration of Phillip Craig Ueland and Nicole Ueland (“Ueland Decl.”) ¶ 1.

Taxpayers filed Form 3520 for the 2017 tax year. See Appendix J, Ueland Decl. ¶3.

On or about December 24, 2018, the IRS issued a letter notifying the taxpayers that Form 3520
was incomplete and additional information was required. See Appendix B. The notice requested
a response within 30 days, i.e., January 23, 2019.

Taxpayers’ preparer responded to the IRS notice on or about January 8, 2019. See Appendix K,
Declaration of Karen Wilson (“Wilson Decl.”) ¶6. The response was delivered to the IRS on or
about January 13, 2019. See Wilson Decl. ¶6 and Appendix C. The IRS stamped the response
as having been received on January 15, 2019. See Appendix A-16 and A-19.

On or about November 2, 2020, the IRS issued a notice to taxpayers that $95,850.10 of their
2019 overpayment was applied to the civil penalty owed for December 31, 2017. See Appendix
D. The taxpayers did not previously receive any notice that a penalty was being proposed or had
been assessed for the 2017 year. See Appendix J, Ueland Decl. ¶5; Appendix K, Wilson Decl.
¶8; and Appendix L, Declaration of William F. Serres II (“Serres Decl.”) ¶¶6, 8. As such,
taxpayers’ then current representative, William F. Serres II, contacted the IRS on or about
December 9, 2020, to inquire into the nature of the penalty. See Appendix L, Serres Decl. ¶6.

Mr. Serres spoke with Loven Carla of the IRS regarding the penalty. Loven Carla verbally
indicated that there was a notice issued on September 21, 2020 but did not provide a copy of the
notice to taxpayers’ representative. See Appendix L, Serres Decl. ¶6. Neither taxpayers nor
their representative for the 2017 return or then representative received the September 21, 2020
notice. See Appendix J, Ueland Decl. ¶5; Appendix K, Wilson Decl. ¶8; and Appendix L, Serres
Decl. ¶¶6, 8. Although Loven Carla did not provide a copy of the September 21, 2020 notice,
she provided a March 19, 2019 notice via fax to Mr. Serres which indicated that a §6702(a)
penalty was assessed. See Appendix L, Serres Decl. ¶7; and Appendix E. The notice faxed to
Mr. Serres redacted all identifying information relating to the taxpayer, amounts, tax year etc.
Id. As such, taxpayers were not able to confirm that the notice pertains to them or that the
amount on the notice is the same as the amount paid via transfer of the 2019 overpayment on
November 2, 2020.1




1
  However, it is unlikely that §6702(a) is the penalty relevant to this case as the penalty is limited
to $5,000.00 whereas the November 2, 2020 notice indicated that the civil penalty was
$95,850.10.
                                                  1


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Taxpayers hired counsel after Mr. Serres was not able to determine the nature of the penalty.
Taxpayers’ counsel submitted a FOIA request on or about January 15, 2021, to obtain
information relating, among other items, to notices relating to Form 3520 for the 2017 tax year
and the administrative file pertaining to the assessment of a penalty relating to Form 3520 and/or
IRC §6702(a) penalty for the 2017 tax year. The IRS responded to the FOIA request on or about
July 9, 2021. See Appendix A. The IRS FOIA response indicated that the case relating to Form
3520 was closed without any action. See Appendix A-6, A-7, A-37. There were no documents
provided on a Section 6702(a) penalty, calculation of the penalty, a copy of the September 21,
2020 notice or issuance of a September 21, 2020 notice.

On or about July 26, 2021, Mr. Serres obtained the 2017 civil penalty account transcript in the
hopes that the nature of the penalty would be noted on the account transcripts. See Appendix F.
The account transcript did not indicate the type of penalty assessed.

Out of an abundance of caution, taxpayers’ counsel submitted a second FOIA request on or about
August 19, 2021 and requested, among several items, “[a]ll notices relating to the civil penalty
assessed for the 2017 tax year, including a notice issued on or about September 21, 2020…,”
“[a]ny documents filed and/or provided by the Taxpayers which form the basis of the civil
penalty,” and the “[a]dministrative file pertaining to the assessment of a civil penalty.” See
Appendix G. The FOIA Disclosure Officer initially denied counsel’s request for the reason that
an identical request was submitted in January 2021. See Appendix I. Counsel clarified with the
FOIA Disclosure Officer that the request was not the same. The FOIA Disclosure Officer
conducted a new search but did not find any additional documents which were not already
provided in the IRS’s July 9, 2021, FOIA response. See Appendix J. The FOIA Disclosure
Officer surmised that the penalty was related to Form 3520-A based on the IRS notice dated
December 24, 2018 requesting additional information relating to Form 3520.2

As such, taxpayers have not been able to determine the nature of the penalty, whether the penalty
applies, or whether the penalty is calculated correctly. No other evidence was provided by the
IRS that a notice was actually issued.

2. Discussion

   a. Legal Requirements for Assessment of Penalty

Section 6751 provides two procedural requirements with respect to penalties. Subsection (a)
provides that “each notice of penalty [shall include] information with respect to the name of the
penalty, the section of this title under which the penalty is imposed, and a computation of the
penalty.” Subsection (b) provides that “[n]o penalty under this title shall be assessed unless the



2 It is believed that the FOIA Disclosure Officer meant to refer to Form 3520 and not Form 3520-

A since the December 24, 2018 letter relates to Form 3520 and not Form 3520-A. The penalty
also does not appear to be related to the December 24, 2018 letter because the penalty amount
does not appear to match any of the penalties which would apply if the penalty rate in the letter
was applied.
                                                 2


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initial determination of such assessment is personally approved (in writing) by the immediate
supervisor…”

As to penalties within Chapter 683, the penalties “shall be paid upon notice and demand and shall
be assessed, collected, and paid in the same manner as taxes.” See §6665(a). The notice and
demand is required to be “left at the dwelling or usual place of business of [the taxpayer] or shall
be sent by mail to [the taxpayer’s] last known address.” See §6303(a). A taxpayer’s “last known
address” is the address on the most recently filed and properly processed tax return unless the
taxpayer provides a clear and concise notification of a different address. See 301.6212-2(a);
Abeles v. Comm’r, 91 T.C. 1019, 1035 (1988). Where a statute requires a notice and demand,
the requirement must be met before the penalty is payable. See e.g., Koss v. U.S., 81 AFTR 2d
98-2049 (E.D. Pa. 1998) (Taxpayer’s motion for summary judgment granted against the IRS
from enforcing its tax lien where notice was supposed to be manually provided and IRS failed to
provide evidence that notice was given, such as a copy of the notice, certified mail receipt,
testimony of agent who delivered the notice, or notes or testimony of agent or officer who
initiated or supervised the manual assessment); and In re Resyn Corp., 945 F.2d 1279 (3rd Cir.
1991) (Court held the IRS could not collect on the fraud penalty and interest which accrued after
the bankruptcy petition was filed where notice and demand was required and the IRS failed to
provide such notice and demand).

Additionally, the IRS has “the burden of production in any court proceeding with respect to the
liability of any individual for any penalty, addition to tax, or additional amount imposed by
[Title 26].” See IRC 7491(c). (emphasis added). The burden of production includes providing
evidence that the requirements of Section 6751 are met. See Graev, et ux. v. Comm’r, 147 T.C.
460, 473 (2016) (“Before considering the merits of the 20% accuracy-related penalties…we first
address threshold issues [taxpayers] have raised involving the procedural requirements of section
6751(a), relating to penalty computations, and section 6751(b), relating to penalty
assessments.”).

   b. Procedural Requirements Relating to the Penalty and Payment of Penalty Via
      Offset Have not Been Met

       (1) The IRS Has Not Been Able to Produce Evidence that the Required Notice Was
           Provided

Taxpayer’s representative Mr. Serres and counsel have made multiple requests for the notice
issued on or about September 21, 2020. By the account of Ms. Loven, this notice appears to
have been the first communication to put the taxpayers on notice of an assessment or proposed
assessment of penalty. However, the IRS was not able to provide a copy of this notice or any
evidence that the required notice was issued despite an informal request by Mr. Serres to Ms.
Loven and two formal FOIA requests by counsel. The administrative records provided through
the FOIA requests also do not contain a record of how the penalty was calculated. Therefore, the
procedural requirement under §6751(a) was not met.


3 Both §6702 and §6677 which is the potential penalty relating to Form 3520 as to transfers to

foreign trusts are within Chapter 68.
                                                 3


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Given that the IRS is not able to provide a copy of the notice required under §6751(a), it is
questionable whether the notice was issued, including whether the information required were
provided. The IRS’ response to counsel’s FOIA request suggests or indicates that the notice is
not available because the penalty was automatically assessed. However, the FOIA response
provided indicates that an agent was involved in determining whether a penalty should be
assessed. Therefore, the penalty was not automatically assessed.

The IRS bears the burden of production in showing that 6751(a) is met since a notice and
demand is required before the penalty is payable. Procedural errors or omissions are a basis for
invalidating an administrative act or proceeding if there is prejudice to the complaining party.
See Graev, 147 T.C. at 474-475. In this case, the failure of the IRS to issue the notice as
required by various sections prejudiced the taxpayer in many ways. Section 7803(a), commonly
known as the Taxpayer Bill of Rights, recognizes that the IRC provides several rights to the
taxpayer, including –

       •   the right to be informed,
       •   the right to quality service,
       •   the right to pay no more than the correct amount of tax,
       •   the right to challenge the position of the internal Revenue Service and be heard,
       •   the right to appeal a decision of the internal Revenue Service in an independent
           forum, and
       •   the right to a fair and just tax system.

Every single right of the taxpayers listed above was prejudiced by the IRS’ inability to produce a
copy of the September 21, 2020 notice. Most importantly, such notices would have provided an
opportunity for the taxpayers to challenge the penalty before assessment and/or collection. The
failure to provide notice therefore deprived the taxpayers an opportunity to challenge the penalty
and/or its collection. Consequently, the penalty is not payable by the taxpayers.

       (2) Even if the Notice For the Penalty was Properly Mailed and Contained the
           Information in Section 6751(a), the Penalty Cannot be Assessed Due to Failure
           to Obtain Supervisor Approval

Separately, written supervisory approval of either the penalties for §6702 or §6677 was required
in order for the penalty to be valid. An exception is provided for penalties which are
“automatically calculated through electronic means.” See §6751(b)(2)(B). This phrase has been
interpreted to apply to a situation where “the penalty was determined mathematically by a
computer software program without the involvement of a human IRS examiner…” See ATL &
Sons Holdings, Inc. v. Comm’r, 152 T.C. 138, 152 (2019).

In this case, it does not appear that either penalty was automatically calculated through electronic
means. With respect to the §6677 penalty, the IRS’s response to counsel’s first FOIA request
indicates that the case was assigned to an agent for review. See Appendix A-6 and A-7,
November 4, 2019 entry. In fact, the same document indicates that no penalty was assessed and
the case was closed without action. Id., November 16, 2019 entries. With respect to the §6702

                                                 4


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penalty, no documents were provided in response to counsel’s first or second FOIA request to
indicate that a §6702(a) penalty was assessed. Furthermore, a §6702(a) penalty by its nature
cannot be automatically calculated through electronic means without the involvement of an IRS
examiner because the penalty requires a two-part determination relating to the apparent
correctness or incorrectness of a return and conduct of the taxpayer.4

Therefore, written supervisor approval was required to be obtained before a civil penalty can be
assessed5. Responses to counsel’s FOIA requests did not indicate that any written supervisor
approval was obtained. Consequently, a civil penalty cannot be assessed pursuant to IRC
§6751(b).

       (3) The IRS Was Not Authorized to Offset Taxpayer’s 2019 Refund Against the
           2017 Penalty Because the 2017 Penalty Was Not Properly Assessed or Notice
           Was Not Properly Given as Required

The civil penalty for the 2017 tax year was paid via offset against taxpayers’ overpayment for the
2019 tax year. See Appendix D. Section 6402(a) authorizes the IRS to “credit the amount of [an]
overpayment [within the applicable statute of limitations] against any liability in respect of an
internal revenue tax6 on the part of the person who made the overpayment and…[to] refund any
balance to such person.”

In this case, the IRS was not authorized to offset the 2017 civil penalty against taxpayers’ 2019
overpayment for various reasons. First, the civil penalty could not be assessed without written
supervisory approval and/or for the failure to provide notice as required by 6751(a) and (b). If
so, there is no valid “liability” to be applied against the overpayment. Second, there was no
notice and demand issued by the IRS. Even if the penalty was assessed, the penalty was not yet
payable if the notice and demand was issued. See Koss and In re Resyn Corp. discussed above.
Therefore, the collection of the civil penalty via offset was not valid.

3. Conclusion

There are various procedural errors in this case which rendered the civil penalty invalid or made
the collection via offset against taxpayers’ refund invalid. There is no evidence that either a
notice required under §6751(a) or notice and demand as required under §6665 and §6303 was
issued. There was also no evidence that written supervisory approval was obtained before
assessment of the penalty. Therefore, the amount of $95,850.10 in civil penalties should be



4
  Even if written supervisory approval was not required for §6702(a) penalty, the penalty itself is
limited to $5,000.
5
  Taxpayers do not know the basis for the assessment of civil penalty. Assuming that neither a
§6677 or §6702(a) penalty was assessed, taxpayers contend that there cannot be any civil penalty
assessed under any provision since responses to counsel’s two FOIA requests did not produce
evidence that written supervisory approval was obtained for any civil penalty.
6
  Chapter 68 penalties are “assessed, collected, and paid in the same manner as taxes…” See
§6665(a).
                                                 5


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Transaction Details
Recipient:                                          Date Created:                    01/08/2019 9:09 AM
Department of the Treasury                          USPS Article Number:             9314869904300054575916
Internal Revenue Service                            Return Receipt Article Number:   Not Applicable
Ogden, UT 84201-0034
                                                    Service Options:                 Return Receipt - Electronic
Sender:                                             Mail Service:                    Certified
Mowat Mackie & Anderson LLP                         Reference #:                     Form 3520 Ueland (JSL)
1999 Harrison Street, Suite 1500                    Postage:                         $1.00
Oakland, CA 94612-3577                              Certified Mail Fees:             $4.95
                                                    Status:                          Delivered
Transaction created by: walzpro@mowat.com
User ID:                17252
Firm Mailing Book ID:   None
Batch ID:




Transaction History
Event Description             Event Date            Details
USPS® Certified Mail          01-08-2019 01:12 PM   [USPS] - PRESHIPMENT INFO SENT USPS AWAITS ITEM at TEMECULA,CA
USPS® Certified Mail          01-08-2019 11:03 PM   [USPS] - PROCESSED THROUGH USPS FACILITY at OAKLAND,CA
USPS® Certified Mail          01-10-2019 01:17 PM   [USPS] - PROCESSED THROUGH USPS FACILITY at SALT LAKE CITY,UT
USPS® Certified Mail          01-10-2019 10:59 PM   [USPS] - DEPART USPS FACILITY at SALT LAKE CITY,UT
USPS® Certified Mail          01-11-2019 02:14 AM   [USPS] - PROCESSED THROUGH USPS FACILITY at SALT LAKE CITY,UT
USPS® Certified Mail          01-11-2019 02:15 AM   [USPS] - ARRIVAL AT UNIT at SALT LAKE CITY,UT
USPS® Certified Mail          01-13-2019 11:11 PM   [USPS] - CERTIFIED MAIL DELIVERED FRONT DESKRECEPTIONMAIL ROOM at OGDEN,UT




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August 19, 2021

VIA FACSIMILE
877-891-6035

Internal Revenue Service
Central Processing Unit
Stop 93A
Post Office Box 621506
Atlanta, GA 30362

RE:    Freedom of Information Act Request
       Taxpayer / TIN:
              Philip Craig Ueland SSN:       9050
              Nicole Ueland SSN         4211
       Tax Forms: 3520
       Tax Periods: 2017

Dear Disclosure Manager:

This request for information is submitted under the Freedom of Information Act, 5 U.S.C. § 552,
and the regulations thereunder (FOIA) on behalf of the above-identified taxpayers. I represent
the above-identified taxpayer(s). My Form 2848, Power of Attorney, is attached.

The taxpayer(s) request a copy of –

   •   All notices relating to the civil penalty assessed for the 2017 tax year, including a notice
       issued on or about September 21, 2020 (the account transcript for the civil penalty is
       attached for your reference);

   •   Any documents filed and/or provided by the Taxpayers which form the basis of the civil
       penalty, including envelopes if such document was submitted via mail; and

   •   Administrative file pertaining to the assessment of a civil penalty, including but not
       limited to any analysis and/or determination as to the penalty, worksheets, workpapers,
       notes, emails, documents, memoranda, computations and other materials prepared or




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Jenny Lin

From:                             Hornberger Kathryn A <Kathryn.Hornberger@irs.gov>
Sent:                             Friday, October 08, 2021 7:08 AM
To:                               Jenny Lin
Subject:                          RE: Case No. 2021-22531


Hello,

I have been looking into this case and reviewed the letter and documents provided to you previously. There are no
records regarding the penalty because it was automatically assessed. Per the Letter 3652C, it appears that the Form
3520-A was not completed as per instructions, so the penalty was assessed. Please let me know if you have any
additional questions.


Kathy Hornberger
Disclosure Specialist
ID# 1000436774
DO 02, PGLD
Mail Stop C-2-235
5000 Ellin Road, Room C-2-272
Lanham, MD 20706
Desk: 240-613-6665
Fax: 855-203-7002
IRS employees: Contact the Disclosure Help Desk from 11am to 5 pm EST at 866-591-0860 with disclosure questions




From: Jenny Lin <jlin@lintaxlaw.com>
Sent: Thursday, October 07, 2021 7:29 PM
To: Hornberger Kathryn A <Kathryn.Hornberger@irs.gov>
Subject: RE: Case No. 2021-22531

Dear Ms. Hornberger,

May I follow-up with you on the status of the request below?

Thank you.

Jenny

Jenny C. Lin, J.D., LLM


1655 N. Main Street, Suite 350
Walnut Creek, CA 94596
Tel: (925)202-2922
Fax: (925)906-9927
Email: jlin@lintaxlaw.com


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Please contact my assistant, Tenaaz Mubaraki, at tmubaraki@lintaxlaw.com if this relates to scheduling a
call or meeting. Thank you.

Notice: This communication, including attachments, may contain information that is confidential and protected by
the attorney/client or other privileges. It constitutes non-public information intended to be conveyed only to the
designated recipient(s). If the reader or recipient of this communication is not the intended recipient, an employee
or agent of the intended recipient who is responsible for delivering it to the intended recipient, or you believe that
you have received this communication in error, please notify the sender immediately by return e-mail and promptly
delete this e-mail, including attachments without reading or saving them in any manner. The unauthorized use,
dissemination, distribution, or reproduction of this e-mail, including attachments, is prohibited and may be
unlawful. Receipt by anyone other than the intended recipient(s) is not a waiver of any attorney/client or other
privilege.


From: Hornberger Kathryn A <Kathryn.Hornberger@irs.gov>
Sent: Thursday, September 09, 2021 6:45 AM
To: Jenny Lin <jlin@lintaxlaw.com>
Subject: RE: Case No. 2021-22531

Good morning,

I am looking at your request again. I will be in touch.


Kathy Hornberger
Disclosure Specialist
ID# 1000436774
DO 02, PGLD
Mail Stop C-2-235
5000 Ellin Road, Room C-2-272
Lanham, MD 20706
Desk: 240-613-6665
Fax: 855-203-7002
IRS employees: Contact the Disclosure Help Desk from 11am to 5 pm EST at 866-591-0860 with disclosure questions




From: Jenny Lin <jlin@lintaxlaw.com>
Sent: Thursday, September 02, 2021 4:43 PM
To: Hornberger Kathryn A <Kathryn.Hornberger@irs.gov>
Subject: Case No. 2021-22531

Dear Ms. Hornberger,

I am writing in response to your letter of August 24, 201 pertaining to my FOIA request.

In the letter, you indicated that I asked for the following and that I submitted an identical request on July 9, 2021.
                                                            2
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I wish to point out that my August 19, 2021 request did not request a copy of the original filed 2017 Form
3520. While I did request a copy of the notice dated September 21, 2020 and believed at that time it was related to
Form 3520, the response to case 2021-06605 indicates that no penalty action was taken.

After obtaining the civil penalty account transcript for 2017, it was confirmed that there was a September 21, 2020
notice mailed. Since the response to case 2021-06605 showed no penalty action, the notice must not have been
related to Form 3520. This is the reason why I made another request.

To date, we have not been able to determine why the taxpayer was subject to a civil penalty. I believe that the
September 21, 2020 notice and files surrounding that notice is key to understanding the penalty so that I may
properly advise the taxpayer.

I would appreciate it if you could review my request again as it is different from case 2021-06605.

Thank you.

Sincerely,

Jenny C. Lin, J.D., LLM


1655 N. Main Street, Suite 350
Walnut Creek, CA 94596
Tel: (925)202-2922
Fax: (925)906-9927
Email: jlin@lintaxlaw.com




                                                          3
                                                                                               APPENDIX I
               Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 75 of 144
Please contact my assistant, Tenaaz Mubaraki, at tmubaraki@lintaxlaw.com if this relates to scheduling a
call or meeting. Thank you.

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the attorney/client or other privileges. It constitutes non-public information intended to be conveyed only to the
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                                                         APPENDIX J
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                                                           APPENDIX 2
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                                                           APPENDIX 2
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                                                           APPENDIX 2
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                                                        Annual Information Return of Foreign                                                                                        OMB No. 1545-0160

         3520-A
  Form

  Department of the Treasury
                                                             Trust With a U.S. Owner
                                                                     (Under section 6048(b))                                                                                           2017
  Internal Revenue Service                     J Go to www.irs.gov/Form3520A for instructions and the latest information.
  Note: All information must be in English. Show all amounts in U.S. dollars.
  For calendar year 2017, or tax year beginning                               , 2017, ending                       , 20                         .
  Check appropriate boxes.                 Initial return        Final return           Amended return
  Check if any excepted specified foreign financial assets are reported on this form (see instructions) •••••••••••••••••••••• X
   Part I General Information (see instructions)
    1a Name of foreign trust                                                                                b(1) Employer identification number




                                                                                                                                                        S
  UELAND SUPERANNUATION FUND
     c    Number, street, and room or suite no. (if a P.O. box, see instructions)                                                                     b(2) Reference ID numbe (se instructions)




                                                                                                                                                      ES
  LEVEL ONE 54 NERIDAH STREET
     d    City or town                                                                e State or province f             ZIP or foreign postal code    g Country
  CHATSWOOD                                                                               NSW                           2067                              AUSTRALIA
    2     Did the foreign trust appoint a U.S. agent (defined in the instructions) who can provide the IRS with all the r levant trust




                                                                                                                                         C
          information? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     ~~~~~~             Yes  X No
          If "Yes," skip lines 2a through 2e and go to line 3.
          If "No," you are required to attach a copy of all trust documents as indicated below. If these documents hav been attached to a Form




                                                                                                                             O
          3520-A filed within the previous 3 years, attach only relevant updates.
                                                                                                                               Attached         Year
          Have you attached a copy of:                                                               Yes             No        Previously     Attached
                                                                                                                     X




                                                                                                       PR
     a    Summary of all written and oral agreements and understandings relating to the trust?
     b    The trust instrument? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ~~                                       X
     c    Memoranda or letters of wishes? ~~~~~~~~~~~~~~~~~~~~~~~~ ~                                                 X
     d    Subsequent variances to original trust documents?~~~~~~~~~~~~~~~~~                                         X
     e    Other trust documents? ••••••••••••••••••••••                               ••••••                         X
    3a    Name of U.S. agent                                                                                        b Identification number
                                                                                         T
     c    Number, street, and room or suite no. (if a P.O. box, see instructions)
                                                                            O
     d    City or town                                                                e State r p ovince f              ZIP or postal code            g Country
                                                                 N

    4a    Name of trustee                                                                                                                             b Identification number, if any
  UELAND PTY LIMITED
     c    Number, street, and room or suite no. (if a P.O. box, see instructions)
  LEVEL ONE 54 NERIDAH ST
                                                O



     d    City or town                                                                e State or province f             ZIP or postal code            g Country
  CHATSWOOD                                                                               NSW                           2067                              AUSTRALIA
                                     D




    5     Did the trust transfer any proper y (includ ng cash) to another person (see instructions for definition) during the tax
          year? If "Yes," attach statement (se in tructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         Yes    X    No
    6     Enter the number of Fore gn Grantor Trust Owner Statements (page 3) included with this Form 3520-A •••• |                                                                     2
                    Under penalties of perju , I declare that I have examined this return, including any accompanying reports, schedules, or statements, and to the best of my knowledge and belief, it is



                 =                                                                                      =                                                                   =
                    true, correct, and comp e.
           PY




  Sign
  Here                Trus ee's Sig ature                                                                    Title                                                              Date

                Print/Type pre   rer's name                             Preparer's signature                                  Date                    Check           if    PTIN

  Paid        KAREN E WILSON                                           KAREN E WILSON                                        01/30/19 self-employed                         P00449883
                Firm's name
  Preparer                       |
 O




  Use    ly                        MOWAT MACKIE & ANDERSON LLP                                                                                       Firm's EIN   |        XX-XXXXXXX
                F rm's address   | 1999 HARRISON STREET, SUITE 1500
                                   OAKLAND, CA 94612-3577                                                                                                             510-893-1120
C




                                                                                                                                                     Phone no.

  LHA         Paperwork Reduction Act Notice, see instructions.                                                                                                                    Form 3520-A (2017)




  713541 11-09-17
                                                                                                                                                                  APPENDIX 3 -1
16210130 758433 78705.0                                                    2017.05030 UELAND, PHILIP                                                                                   78705_03
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  Form 3520-A (2017)                                                                                                                                          Page 2
   Part II             Foreign Trust Income Statement
                       Enter totals from books and records of foreign trust (see instructions).
              1      Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     15,880.
              2      Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              3      Gross rents and royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              4      Income (loss) from partnerships and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Income




              5      Capital gains:
               a     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
               b     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       88 168.




                                                                                                                               S
              6      Ordinary gains (losses) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              7      Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~     SEE STATEMENT 2                                    331,121.
                                                                                                                                                   435,169.




                                                                                                                             ES
              8      Total income (add lines 1 through 7) ••••••••••••••••••••••••••••••••••••
              9      Interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             10a     Foreign taxes (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    SEE STATEMENT 1                                      26,311.
                b    State and local taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Expenses




             11      Amortization and depreciation (depletion) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




                                                                                                                   C
             12      Trustee and advisor fees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ~~~~                11,272.
             13      Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             14      Other expenses (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ~~~~~~~




                                                                                                          O
             15      Total expenses (add lines 9 through 14) ••••••••••••••••••••••• •••••                                       ••••               37,583.
             16      Net income (loss) (subtract line 15 from line 8) ••••••••••••••••••••••• ••••••••                                             397,586.




                                                                                        PR
             17a     Enter the fair market value (FMV) of total distributions from the trust to all persons whe h r U.S. or foreign |
                b    Distributions to U.S. owners:
                                    (i) Name of owner                        (ii) Identification numbe      ( i) Date of distribution           (iv) FMV



                  c Distributions to U.S. beneficiaries:
                                                                             T
                                (i) Name of beneficiary                    (ii) Ident   ation number      (iii) Date of distribution            (iv) FMV
                                                                       O

   Part III Foreign Trust Balance Sheet                                    Beg ning of Tax Year                                       End of Tax Year
                                                              N


                                     Assets                                  a)                     (b)                         (c)                     (d)
   1          Cash ~~~~~~~~~~~~~~~~~~~~                                                           748,104.                                         663,455.
   2          Accounts receivable ~~~~~~~~~~~~                                                     48,740.                                         129,503.
                                                O



   3          Mortgages and notes receivable                  ~~
   4          Inventories ~~~~~~~~ ~~~~~~~
                                      D




   5          Government obligations ~~~~ ~~~~~
   6          Other marketable securiti s ~~~~ ~~~                                            2,628,994.                                        2,711,795.
   7          Other nonmarketable securities ~~~~~~
   8a         Depreciable (depletabl ) sets ~~~~~~
                  PY




     b        Less: accumula ed depreciat n (depletion) ~
   9          Real propert         ~ ~~~~~~~~~~~~~
  10          Other assets (a ch statement) ~~~~~~~     STMT 3                                  325,165.                                          416,549.
  11          Total assets ~~~~~~~~~~~~~~~~                                                   3,751,003.                                        3,921,302.
                                   Liabilities
 O




  12             cou ts pay ble ~~~~~~~~~~~~~                                                       43,541.                                                     0.
  1           Contributions, gifts, grants, etc., payable ~~
C




  14          Mortg ges and notes payable ~~~~~~~
  15            ther liabilities (attach statement) STMT~~~~~~     4                                                                                     9,537.
  16          Total liabilities ~~~~~~~~~~~~~~~                                                     43,541.                                              9,537.
                                   Net Worth
  17          Contributions to trust corpus ~~~~~~~~                                          2,040,657.                                        1,934,270.
  18          Accumulated trust income ~~~~~~~~~                                              1,666,805.                                        1,977,495.
  19          Other (attach statement) ~~~~~~~~~~
  20          Total net worth (add lines 17 through 19) ~~                                    3,707,462.                                        3,911,765.
  21          Total liabilities and net worth (add lines 16 and 20)                           3,751,003.                                        3,921,302.
  713542 11-09-17                                                                                                                               Form 3520-A (2017)
                                                                                                                                       APPENDIX 3 -2
16210130 758433 78705.0                                                2017.05030 UELAND, PHILIP                                                   78705_03
            Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 86 of 144
  PHILIP C. & NICOLE S. UELAND                                             9050
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FORM 3520-A   FOREIGN TRUST INCOME STATEMENT - FOREIGN TAXES     STATEMENT    1
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DESCRIPTION                                                                 AMOUNT
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INCOME TAX EXPENSE                                                             26,311.
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TOTAL TO FORM 3520-A, PAGE 2, PART II                                          26 311.




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FORM 3520-A    FOREIGN TRUST INCOME STATEMENT - OTHER INCOME     STATEMENT   2
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DESCRIPTION                                                                 AMOUNT




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EMPLOYER CONTRIBUTIONS                                                         14,804.
PERPETUAL ORDINARY INCOME (PFIC)                                               59,168.




                                                      O
CHARTER HALL LONG WALE REIT (PFIC)                                             71,619.
UNREALIZED GAINS/LOSSES - VALUATION                                           203,767.
UNREALIZED GAINS/LOSSES - FOREIGN EXCHANGE                                    -18,237.




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TOTAL TO FORM 3520-A, PAGE 2, PART II                                         331,121.
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FORM 3520-A    FOREIGN TRUST INCOME STATEMENT - OTHER ASSETS     STATEMENT   3
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DESCRIPTION                                            TAX YEAR            TAX YEAR
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CURRENT TAX ASSET                                           7,147.                  0.
VAXXAS BARE TRUST                                         318,018.            416,549.
                                                    }}}}}}}}}}}}}}      }}}}}}}}}}}}}}
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TOTAL TO FORM 3520-A, PAGE 2, PART III                    325,165.            416,549.
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FORM 3520-A FOREIGN TRUST INCOME STATEMENT - OTHER LIABILITIES STATEMENT     4
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DESCRIPTION                                            TAX YEAR            TAX YEAR
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CURRENT TAX LIABILITY                                           0.              9,537.
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TOTAL TO FORM 3520-A, PAGE 2, PART III                          0.              9,537.
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                                                              STATEMENT(S) 1,3 -3
                                                                               2, 3, 4
16210130 758433 78705.0         2017.05030 UELAND, PHILIP                   78705_03
Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 87 of 144
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            Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 89 of 144
  PHILIP C. & NICOLE S. UELAND                                           -9050
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FORM 3520-A P3       STATEMENT OF FOREIGN TRUST INCOME           STATEMENT   5
                               OTHER INCOME
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PHILIP UELAND


DESCRIPTION                                                                 AMOUNT




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EMPLOYER CONTRIBUTIONS                                                         14,804.
PERPETUAL ORDINARY INCOME (PFIC)                                               28,889.




                                                                ES
CHARTER HALL LONG WALE REIT (PFIC)                                             34,968.
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TOTAL TO FORM 3520-A, PAGE 3, LINE 7                                           78,661.
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FORM 3520-A P3       STATEMENT OF FOREIGN TRUST INCOME           STATEMENT   6




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                              FOREIGN TAXES
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PHILIP UELAND

DESCRIPTION                                                                 AMOUNT
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AUSTRALIA TAXES PAID                                                           13,983.
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TOTAL TO FORM 3520-A, PAGE 3, LINE 9A                                          13,983.
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                                                                    STATEMENT(S)
16040130 758433 78705.0         2017.05030 UELAND, PHILIP                       78705_03
            Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 90 of 144
  PHILIP C. & NICOLE S. UELAND                                           -9050
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FORM 3520-A, P3                FACTS AND LAW                     STATEMENT   7
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 UNDER IRC SECTIONS 671-679, THE UELAND SUPERANNUATION FUND
 MAY BE CONSIDERED A FOREIGN GRANTOR TRUST, TO BE TREATED FOR
 US TAX PRINCIPLES AS OWNED BY PHILIP C. UELAND AND NICOLE S.
 UELAND. THE TAXPAYER IS FILING THIS FORM AS A PROTECTIVE
 MEASURE IN CASE THE UELAND SUPERANNUATION FUND QUALIFIES AS
 A FOREIGN GRANTOR TRUST.




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                                                                       STATEMENT(S) 7
16040130 758433 78705.0         2017.05030 UELAND, PHILIP                       78705_03
            Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 91 of 144
  PHILIP C. & NICOLE S. UELAND                                           -9050
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FORM 3520-A, P3                FACTS AND LAW                     STATEMENT   8
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 UNDER IRC SECTIONS 671-679, THE UELAND SUPERANNUATION FUND
 MAY BE CONSIDERED A FOREIGN GRANTOR TRUST, TO BE TREATED FOR
 US TAX PRINCIPLES AS OWNED BY PHILIP C. UELAND AND NICOLE S.
 UELAND. THE TAXPAYER IS FILING THIS FORM AS A PROTECTIVE
 MEASURE IN CASE THE UELAND SUPERANNUATION FUND QUALIFIES AS
 A FOREIGN GRANTOR TRUST.




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16040130 758433 78705.0         2017.05030 UELAND, PHILIP                       78705_03
            Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 92 of 144
  PHILIP C. & NICOLE S. UELAND                                            9050
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FORM 3520-A P3       STATEMENT OF FOREIGN TRUST INCOME           STATEMENT   9
                               OTHER INCOME
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NICOLE S. UELAND


DESCRIPTION                                                                 AMOUNT




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PERPETUAL ORDINARY INCOME (PFIC)                                               30,279.
CHARTER HALL LONG WALE REIT (PFIC)                                             36,650.




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TOTAL TO FORM 3520-A, PAGE 3, LINE 7                                           66,929.
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FORM 3520-A P3       STATEMENT OF FOREIGN TRUST INCOME           STATEMENT 10
                              FOREIGN TAXES




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NICOLE S. UELAND




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DESCRIPTION                                                                 AMOUNT
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AUSTRALIA TAXES PAID                                                           12,328.
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TOTAL TO FORM 3520-A, PAGE 3, LINE 9A                                          12,328.
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                                                                    STATEMENT(S)
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    Case 1:23-cv-00931-RTH Document 7-4 Filed 06/23/23 Page 93 of 144




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Note. The fact that a foreign country would impose                         If a trust makes a gratuitous transfer to another trust,
penalties for disclosing the required information is not               the grantor of the transferor trust is treated as the grantor
reasonable cause. Similarly, reluctance on the part of a               of the transferee trust, except that if a person with a
foreign fiduciary or provisions in the trust instrument that           general power of appointment over the transferor trust
prevent the disclosure of required information is not                  exercises that power in favor of another trust, such person
reasonable cause.                                                      is treated as the grantor of the transferee trust, even if the
                                                                       grantor of the transferor trust is treated as the owner of the
Definitions                                                            transferor trust.
Distribution                                                           Grantor Trust
A distribution for section 6048(c) reporting purposes is               A grantor trust is any trust to the extent that the assets of
any gratuitous transfer of money or other property from a              the trust are treated as owned by a person other than the
trust, whether or not the trust is treated as a grantor trust          trust. See the grantor trust rules in sections 671 through
under the grantor trust rules (sections 671 through 679),              679. A part of the trust may be treated as a grantor trust to
and without regard to whether the recipient is designated              the extent that only a portion of the trust assets are owned
as a beneficiary by the terms of the trust. A distribution             by a person other than the trust.
includes the receipt of trust corpus and the receipt of a gift
or bequest described in section 663(a).                                Note. Due to changes to section 679(c) made by the
                                                                       HIRE Act, effective after March 18, 2010, a loan of cash or
   A distribution also includes constructive transfers from            marketable securities from a foreign trust with a U.S.
a trust. For example, if charges you make on a credit card             transferor, directly or indirectly, to a U.S. person, or the
are paid by a foreign trust or guaranteed or secured by the            use of any other trust property directly or indirectly by any
assets of a foreign trust, the amount charged will be                  U.S. person (whether or not a beneficiary under the terms
treated as a distribution to you by the foreign trust.                 of the trust) will cause a foreign trust to be treated as
Similarly, if you write checks on a foreign trust's bank               having a U.S. beneficiary, unless the U.S. person repays
account, the amount will be treated as a distribution. See             the loan at a market rate of interest or pays the FMV of the
section V of Notice 97-34, 1997-25 I.R.B. 22. Also, if you             use of such property within a reasonable period of time.
receive a payment from a foreign trust in exchange for                 Thus, in the case of a foreign trust with a U.S. transferor
property transferred to the trust or services rendered to              that is treated as having a U.S. beneficiary, the foreign
the trust, and the fair market value (FMV) of the payment              trust is treated as a grantor trust under the grantor trust
you received exceeds the FMV of the property transferred               rules.
or services rendered, the excess will be treated as a
distribution to you. See section V of Notice 97-34,                    Gross Value
1997-25 I.R.B. 22.                                                     Gross value is the value of property as determined under
   Examples                                                            section 2512 and its regulations, without regard to any
   1. If you sell stock with an FMV of $100 to a foreign               prohibitions or restrictions on a person's interest in the
trust and receive $150 in exchange, you have received a                property. See section VII of Notice 97-34. Although formal
distribution of $50.                                                   appraisals are not generally required, you should keep
   2. If you receive $100 from the trust for services                  contemporaneous records of how you arrived at your
performed by you for the trust, and the services have an               good faith estimate.
FMV of $20, you have received a distribution of $80.                   Nongrantor Trust
Foreign Trust and Domestic Trust                                       A nongrantor trust is any trust to the extent that the assets
A foreign trust is any trust other than a domestic trust. A            of the trust are not treated as owned by a person other
domestic trust is any trust if:                                        than the trust. Thus, a nongrantor trust is treated as a
                                                                       taxable entity. A trust may be treated as a nongrantor trust
   1. A court within the United States is able to exercise             with respect to only a portion of the trust assets. See
primary supervision over the administration of the trust,              Grantor Trust above.
and
   2. One or more U.S. persons have the authority to                   Owner
control all substantial decisions of the trust.                        An owner of a foreign trust is the person that is treated as
                                                                       owning any of the assets of a foreign trust under the
Grantor                                                                grantor trust rules.
A grantor includes any person who creates a trust or
directly or indirectly makes a gratuitous transfer of cash or          Property
other property to a trust. A grantor includes any person               Property means any property, whether tangible or
treated as the owner of any part of a foreign trust's assets           intangible, including cash.
under sections 671 through 679, excluding section 678.
                                                                       U.S. Agent
Note. If a partnership or corporation makes a gratuitous               A U.S. agent is a U.S. person (defined later) that has a
transfer to a trust, the partners or shareholders are                  binding contract with a foreign trust that allows the U.S.
generally treated as the grantors of the trust, unless the             person to act as the trust's authorized U.S. agent (see the
partnership or corporation made the transfer for a
business purpose of the partnership or corporation.

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instructions for Part I, Lines 3a through 3g, later) in                 made, and none of those persons are U.S. persons during
applying sections 7602, 7603, and 7604 with respect to:                 the tax year.
   Any request by the IRS to examine records or produce                    Certain agreements and understandings treated as
testimony related to the proper U.S. tax treatment of                   terms of the trust. For purposes of the general rule
amounts distributed, or required to be taken into account               above, if any U.S. person who directly or indirectly
under the grantor trust rules, with respect to a foreign                transfers property to the trust is directly or indirectly
trust; or                                                               involved in any agreement or understanding (whether
   Any summons by the IRS for such records or testimony.                written, oral, or otherwise) that may result in the income or
   A U.S. grantor, a U.S. beneficiary, or a domestic                    corpus of the trust being paid or accumulated to or for the
corporation controlled by the grantor or beneficiary may                benefit of a U.S. person, such agreement or
act as a U.S. agent. However, you may not treat the                     understanding will be treated as a term of the trust.
foreign trust as having a U.S. agent unless you enter the                  Certain loans or uncompensated use of trust
name, address, and taxpayer identification number of the                property. If a foreign trust is not already treated as
U.S. agent on lines 3a through 3g of Part I of the form. See            having a U.S. beneficiary under the rules described
Identification numbers, later.                                          above, the trust will be treated as having a U.S.
                                                                        beneficiary if, after March 18, 2010, either:
   If the person identified as the U.S. agent does not                     The foreign trust loans cash or marketable securities
produce records or testimony when requested or                          directly or indirectly to a U.S. person and the U.S. person
summoned by the IRS, the IRS may redetermine the tax                    does not repay the loan at a market rate of interest within
consequences of your transactions with the trust and                    a reasonable period of time, or
impose appropriate penalties under section 6677.                           A U.S. person uses property that is owned by the
   The agency relationship must be established by the                   foreign trust and does not pay FMV of the use of such
time the U.S. person files Form 3520-A for the relevant tax             property within a reasonable period of time.
year and must continue as long as the statute of                        Presumption that foreign trust has U.S. beneficiary.
limitations remains open for the relevant tax year. If the              For transfers of property after March 18, 2010, if a U.S.
agent’s responsibility as an agent of the trust is terminated           person directly or indirectly transfers property to a foreign
for any reason (for example, agent’s resignation, agent’s               trust (other than a deferred compensation or charitable
liquidation, or agent’s death), see section IV(B) of Notice             trust described in section 6048(a)(3)(B)(ii)), the IRS may
97-34.                                                                  treat such trust as having a U.S. beneficiary for purposes
U.S. Beneficiary                                                        of applying section 679(d) to such transfer if the IRS
                                                                        requests information with respect to the transfer and the
A U.S. beneficiary generally includes any person that                   U.S. person fails to demonstrate to the satisfaction of the
could possibly benefit (directly or indirectly) from the trust          IRS that no portion of the income or corpus of the trust
(including an amended trust) at any time, whether or not                may ever be paid to or accumulated for the benefit of a
the person is named in the trust instrument as a                        U.S. person.
beneficiary and whether or not the person can receive a
distribution from the trust in the current year. In addition, a         U.S. Person
U.S. beneficiary includes:                                              A U.S. person is:
   A foreign corporation that is a controlled foreign                     A citizen or resident alien of the United States (see Pub.
corporation (as defined in section 957(a)),                             519, U.S. Tax Guide for Aliens, for guidance on
   A foreign partnership if a U.S. person is a partner of the           determining resident alien status),
partnership, and                                                          A domestic partnership,
   A foreign estate or trust if the estate or trust has a U.S.            A domestic corporation,
beneficiary.                                                              Any estate (other than a foreign estate, within the
Foreign trust treated as having a U.S. beneficiary. In                  meaning of section 7701(a)(31)(A)), and
general, a foreign trust will be treated as having a U.S.                 Any domestic trust (defined earlier).
beneficiary unless the terms of the trust instrument
specifically prohibit any distribution of income or corpus to
a U.S. person at any time, even after the death of the U.S.
                                                                        Specific Instructions
transferor or any event terminating the trust, and the trust
cannot be amended or revised to allow such a distribution.
                                                                        Period Covered
For these purposes, an amount will be treated as                        File the 2017 return for calendar year 2017 and fiscal
accumulated for the benefit of a U.S. person even if the                years that begin in 2017 and end in 2018. For a fiscal
U.S. person's interest in the trust is contingent on a future           year, fill in the tax year in the space at the top of the form.
event and regardless of whether anything is actually                    Initial Return, Final Return, Amended
distributed to a U.S. person during that tax year.
   Special rule in case of discretion to identify                       Return
beneficiaries. For purposes of the general rule above, if               Initial return. If this is the foreign trust's first return,
any person has the discretion of making a distribution                  check the “Initial return” box.
from the trust to, or for the benefit of any person, the trust
will be treated as having a beneficiary who is a U.S.                   Final return. If the foreign trust ceases to exist, check
person, unless the terms of the trust specifically identify             the “Final return” box.
the class of persons to whom such distributions may be

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8949, Sales and Other Dispositions of Capital Assets, if              on an attached statement if the trust has more than one
applicable.                                                           item.
Line 6. Ordinary gains (losses). Enter the ordinary gain              Lines 17b and 17c. Distributions to U.S. owners and
or (loss) from the sale or exchange of property other than            beneficiaries. Separately list the total amount of
capital assets and also from involuntary conversions                  distributions (including the uncompensated use of trust
(other than casualty or theft).                                       property) to each U.S. owner and beneficiary. List the full
                                                                      name, identification number, date of distribution, and FMV
Line 7. Other income. Enter other items of income not
                                                                      (dollar amount) for each U.S. owner and beneficiary
included on lines 1 through 6. List the types and amounts
                                                                      receiving a distribution. If more space is needed, attach a
on an attached statement if the trust has more than one
                                                                      statement.
item.
                                                                         Prepare a separate Foreign Grantor Trust Owner
   Items to be reported on line 7 include any part of a total
                                                                      Statement (see below) or Foreign Grantor Trust
distribution shown on Form 1099-R, Distributions From
                                                                      Beneficiary Statement (see below) for each U.S. owner
Pensions, Annuities, Retirement or Profit-Sharing Plans,
                                                                      or for each U.S. beneficiary who receives a distribution
IRAs, Insurance Contracts, etc., that is treated as ordinary
                                                                      from the trust.
income. For more information, see the instructions for
Form 4972, Tax on Lump-Sum Distributions.                             Part III—Foreign Trust Balance Sheet
Expenses                                                              List all assets and liabilities of the trust, including those
                                                                      assets and liabilities attributable to the portion(s) of the
Line 9. Interest expense. Enter the amount of interest                trust (if any) not treated as owned by a U.S. person.
(subject to limitations) paid or incurred by the trust on
                                                                         The balance sheet should reflect FMV. Include
amounts borrowed by the trust, or on debt acquired by the
                                                                      certificates of deposit as cash on line 1.
trust, that is not reported elsewhere in Part II.
   If the proceeds of a loan were used for more than one              Line 18. Accumulated trust income. Include the total
purpose (for example, to purchase a portfolio investment              amount of trust income accumulated and not distributed.
and to acquire an interest in a passive activity), the
fiduciary must make an interest allocation according to the
                                                                      Foreign Grantor Trust Owner
rules in Temporary Regulations section 1.163-8T.                      Statement
   Do not include interest paid on indebtedness incurred              A copy of this statement (page 3 of Form 3520-A) must be
or continued to purchase or carry obligations on which the            (a) furnished to each U.S. person who is treated as an
interest is wholly exempt from income tax.                            owner of the foreign trust under the grantor trust rules, and
                                                                      (b) included with this Form 3520-A. The statement must
Line 10a. Foreign taxes. A foreign tax includes only a
                                                                      be furnished to each U.S. owner no later than the 15th day
tax imposed by the authority of a foreign country.
                                                                      of the 3rd month following the end of the trust's tax year or
Line 10b. State and local taxes. Enter any deductible                 later, if an extension of time to file is granted. See When
state and local income or real property taxes paid or                 and Where To File, earlier.
incurred during the tax year that are not reported
                                                                      Identification numbers and addresses. See the
elsewhere in Part II.
                                                                      instructions for Part I, earlier, for information on entering
   Do not deduct on line 10b or on any other line of Part II:         identification numbers and addresses.
   Federal income taxes;
   Estate, inheritance, legacy, succession, and gift taxes;           Line 8. Trust documents. If the trust did not appoint a
or                                                                    U.S. agent, list the documents attached to the current year
   Federal duties and excise taxes.                                   Form 3520-A and those attached to a Form 3520-A filed
                                                                      within the last 3 years. Specify the years the documents
Line 11. Amortization and depreciation (depletion). A                 were attached. See the instructions for line 2, Part I, for a
reasonable amount is allowed as a depreciation deduction              list of documents the trust is required to attach to Form
for the exhaustion, wear, and tear of:                                3520-A.
   Property used in a trade or business, or
   Property held for the production of income.                        Statement of Foreign Trust Income Attributable
Line 12. Trustee and advisor fees. Enter the                          to U.S. Owner
deductible fees paid or incurred to the fiduciary for                 The amounts on the statement must include the portion of
administering the trust during the tax year.                          income reported by the foreign trust deemed attributable
                                                                      to the U.S. owner.
Line 13. Charitable contributions. Generally, any part
of the income reported on line 8 that is paid (or treated as             The foreign trust may need to furnish to the U.S. owner
paid) during the tax year for a charitable purpose specified          additional information, including applicable statements, to
in section 170(c) is allowed as a deduction. It is not                ensure that the owner accurately reports income and
necessary that the charitable organization be created or              expenses on the owner's U.S. income tax return.
organized in the United States.
                                                                      Foreign Grantor Trust Beneficiary
Line 14. Other expenses. Enter other items of expense
not listed on lines 9 through 13. List the type and amount            Statement
                                                                      A copy of this statement (page 4 of Form 3520-A) must be
                                                                      (a) furnished to each U.S. beneficiary who receives a

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distribution (including the uncompensated use of trust                control number. Books or records relating to a form or its
property) from the foreign trust during the tax year, and (b)         instructions must be retained for as long as their contents
included with this Form 3520-A.                                       may become material in the administration of any Internal
                                                                      Revenue law.
Exception. Do not complete this statement for a U.S.
person for any portion of the trust of which that U.S.                  The time needed to complete and file the form will vary
person is treated as the owner; instead, complete the                 depending on individual circumstances. The estimated
Foreign Grantor Trust Owner Statement for that U.S.                   average time is:
person (as described above).
    The statement must be furnished to the U.S.                       Recordkeeping . . . . . . . . . . . . . . . . .          37 hr., 18 min.
beneficiary no later than the 15th day of the 3rd month               Learning about the law or the
following the end of the trust's tax year or later, if an             form . . . . . . . . . . . . . . . . . . . . . . . . .    2 hr., 40 min.
extension of time to file is granted. See When and Where
                                                                      Preparing and sending the form to
To File, earlier.
                                                                      the IRS . . . . . . . . . . . . . . . . . . . . . . .     3 hr., 24 min.
Identification numbers and addresses. See the
instructions for Part I, earlier, for information on entering
identification numbers and addresses.                                    If you have comments concerning the accuracy of
                                                                      these time estimates or suggestions for making this form
Paperwork Reduction Act Notice. We ask for the
                                                                      simpler, we would be happy to hear from you. You can
information on this form to carry out the Internal Revenue
                                                                      send us comments from IRS.gov/FormComments. Click
laws of the United States. You are required to give us the
                                                                      on “More Information” and then on “Give us feedback.” Or
information. We need it to ensure that you are complying
                                                                      you can send your comments to: Internal Revenue
with these laws and to allow us to figure and collect the
                                                                      Service, Tax Forms and Publications Division, 1111
right amount of tax.
                                                                      Constitution Ave. NW, IR-6526, Washington, DC 20224.
   You are not required to provide the information                    Do not send the form to this office. Instead, see When and
requested on a form that is subject to the Paperwork                  Where To File, earlier.
Reduction Act unless the form displays a valid OMB




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Date Produced: 09/03/2018

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